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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA

                                               CIVIL MINUTES - GENERAL


  Case No.           CV 21-3572-CBM(Ex)                                            Date   NOVMBER 9, 2021
  Title           TEE TURTLE, LLC., V. ABMASK, ET AL.,



  Present: The Honorable              CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE


                       Yolanda Skipper                                              Terri Hourigan
                         Deputy Clerk                                               Court Reporter


                   Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                   J. Michael Keyes, via telephone                               No Appearance made


  Proceedings:           TELEPHONIC HEARING RE PLAINTIFFS MOTION FOR DEFAULT JUDGMENT
                         AND PERMANENT INJUNCITON [51]


The case is called and counsel state their appearance. The Court and Plaintiffs counsel confer regarding the
status of the case.


Following discussions with the parties, the Court hereby grants the motion in part and denies the motion in part.
A written order will issue.

IT IS SO ORDERED.


cc: all parties                                                                                       : 03




            CV-90                                      CIVIL MINUTES - GENERAL   Initials of Deputy Clerk YS
